Case 2:04-cr-20266-BBD Document 72 Filed 05/18/05 Page 1 of 2 Page|D 74

lN THE uNiTED sTATEs oisTRicT count l ii l .
FoR THE wEsTERN oisTRlcT oF TENNEssEE n,_
wEsTERN oi\/isioN .

 

 

UN|TED STATES OF Ai\/|ER|CA

 

P|aintitf

VS.
CR. NO. 04-20266-[)

MARV| N JACKSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|N§

 

This cause came on for a change of plea on lVlay 1 1, 2005. At that time, counsel for
the defendant requested a continuance for additional time to prepare.

The Court granted the request and reset the trial date to June 6, 2005 with a
Change of Plea hearing date of Tuesday, N|ayL_ZOOS. at 9:00 a.m., in Courtroom 3.
9th F|oor of the Federal Bui|dingl l\/lemphis1 TN.

The period from |Vlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(i\/) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this Z¢Sf day of l\/lay, 2005.

M¢ M
ERNici§ sf DoNAi_o

UN|TED STATES D|STR|CT JUDGE

 

"ihis document entered on the docket sheet in compliance

..»- 57
Wim noia 35 and/or azib) Fnch on 5 52 1752

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-20266 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

